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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


 RICHARD ZELMA, pro se,

                            Plaintiff,
         v.                                             Case No.: 2:20-cv-20595-KM-ESK

 JONATHAN SEIBERT, VISION SOLAR,
 LLC, d/b/a/ VISION SOLAR NJ, LLC, d/b/a/
 VISION SOLAR FL, LLC, d/b/a/ ENERGY–                   APPLICATION FOR EXTENSION OF
 XCHANGE, MARK GETTS, SOLAR                             TIME TO ANSWER, MOVE, OR
 XCHANGE, Inc., and TELEMARKETER[S]                     OTHERWISE REPLY PURSUANT TO
 CALLING FROM (908) 275-3308; (800) 746-                LOCAL CIVIL RULE 6.1(b)
 7748; (818) 702-1899; and (609) 893-5078,
                                                        Electronically Filed
                            Defendants.


TO THE CLERK:

        Application is hereby made for a Clerk’s Order extending time with which Defendants

Vision Solar, LLC and Jonathan Seibert may answer, move, or otherwise reply to the Complaint

filed by Plaintiff herein and it is represented that:

        1. No previous extension has been obtained;

        2. This matter was removed to this Court on December 30, 2020; and

        3. The time to Answer, Move, or otherwise Reply expires on January 6, 2021.

Dated: January 6, 2021                          FOX ROTHSCHILD LLP

                                                By: /s/ Adam Busler
                                                Adam Busler, Esquire
                                                Midtown Building – Suite 400
                                                1301 Atlantic Avenue
                                                Atlantic City, NJ 08401
                                                abusler@foxrothschild.com
                                                T: 609-348-4515
                                                F: 609-348-6834
                                                Attorneys for Defendants, Vision Solar, LLC and
                                               Jonathan Seibert
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                                           ORDER

       The above application is ORDERED GRANTED. Defendants Vision Solar, LLC and

Jonathan Seibert time to answer, move, or otherwise reply is extended to January 20, 2021.

ORDER DATED:

                                                   WILLIAM T. WALSH, Clerk

                                                   By:
                                                           Deputy Clerk
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                                 CERTIFICATE OF SERVICE

       I, Adam Busler, hereby certify that, on this date, I caused the foregoing document to be

filed electronically and served by mail on anyone unable to accept electronic filing. Notice of this

filing will be sent by e-mail to all parties by cooperation of the Court’s electronic filing system or

by mail to anyone unable to accept electronic filing as indicated on the Notice of electronic filing.

Parties may access this filing through the Court’s CM/ECF System.


                                               By: /s/ Adam Busler
Dated: 1/6/2021                                   Adam Busler
